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                                                                                     Tel: (678) 587-8740
                        9                                                            Attorneys for Edward Steven Burdekin and
                      10                                                             National Store Retail Services

                      11                                    UNITED STATES BANKRUPTCY COURT

                      12                                          FOR THE DISTRICT OF NEVADA

                      13       In re:                                                Case No.: BK-19-15172-ABL
                                                                                     Chapter 11
                      14       NATIONAL MERCHANDISING SERVICES,
                               LLC                              Jointly administered with:
                      15
                                           Affects this Debtor.                      Edward Steven Burdekin,
                      16                                                                Case No. BK-19-15175-ABL; and
                                                                                     National Store Retail Services, LLC,
                      17                   Affects all Debtors.                          Case No. BK-19-15174-ABL
                      18
                                                                                     Date: July 31, 2020
                      19                   Affects Edward Steven Burdekin.           Time: 9:30 a.m.
                                                                                     Place: U.S. Bankruptcy Court
                      20                                                                    Courtroom 1
                                           Affects National Store Retail Services,          300 Las Vegas Boulevard South
                      21                   LLC.                                             Las Vegas, Nevada
                      22

                      23                             NOTICE OF HEARING TO CONSIDER CONFIRMATION
                                                  OF DEBTORS’ AMENDED JOINT PLAN OF REORGANIZATION
                      24                            AND DEADLINE FOR OBJECTIONS TO CONFIRMATION

                      25            TO ALL PERSONS AND ENTITIES WITH CLAIMS AGAINST AND EQUITY
                               SECURITIES IN THE DEBTORS, PLEASE TAKE NOTICE THAT:
                      26

                      27              1.      Debtors’ Plan of Reorganization. Debtors and debtors-in-possession National
                               Merchandising Services, LLC (“NMS”), Edward Steven Burdekin (“Burdekin”), and National
                      28       Store Retail Services, LLC (“NSRS” and, collectively with NMS and Burdekin, the “Debtors”)
Garman Turner Gordon
7251 Amigo Street, Suite 210
 Las Vegas, Nevada 89119
      (725) 777-3000

                               4839-5780-9856, v. 2
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                        1      jointly filed Debtors’ Amended Joint Plan of Reorganization (as may be amended, supplemented,
                               or modified, including all schedules thereto, the “Plan”) on June 19, 2020 in the United States
                        2      Bankruptcy Court for the District of Nevada (the “Court”).
                        3              2.     Confirmation Hearing. A hearing to consider confirmation of the Plan (the
                        4      “Confirmation Hearing”) will be held before a United States Bankruptcy Judge, in the Foley
                               Federal Building, 300 Las Vegas Boulevard South, Las Vegas, Nevada 89101, commencing on
                        5      July 31, 2020 at 9:30 a.m. The Confirmation Hearing may be continued from time to time without
                               further notice other than the announcement by the Court or the Debtors in open court of the
                        6      adjourned date at the Confirmation Hearing or any continued hearing, and the Plan may be
                               modified, if necessary, prior to, during, or as a result of the Confirmation Hearing in accordance
                        7      with the terms of the Plan, without further notice to interested parties. Pursuant to LR 3019, all
                        8      creditors and parties in interest are advised that the Court may consider modifications to the
                               Plan at the Confirmation Hearing.
                        9
                                       3.      Objections to Plan Confirmation, Assumption and Assignment of Contracts
                      10       and Leases, and Cure Amounts. If you do not want the court to confirm the Plan, including the
                               assumption or assignment of an executory contract or unexpired lease, or if you want the Court to
                      11       consider your views on the Plan, including any objection to a cure amount proposed by the Debtors
                               in the Plan, then you must file an opposition with the Court, and serve a copy on attorneys for the
                      12
                               Debtors, no later than 14 days preceding the Confirmation Hearing date, unless an exception
                      13       applies (see Local Rule 9014(d)(3)). The opposition must state your position, set forth all relevant
                               facts and legal authority, and be supported by affidavits or declarations that conform to Local rule
                      14       9014(c).
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                                             If you object to the relief requested, you must file a WRITTEN response to the
                      16                     Plan with the Court. You must also serve your written response on the persons
                                             who sent you this notice.
                      17
                                             If you do not file a written response with the Court, or if you do not serve your
                      18                     written response on the person who sent you this notice, then:
                      19                                 The Court may refuse to allow you to speak at the scheduled hearing; and
                      20                                 The Court may rule against you without formally calling the matter at the
                                                          hearing.
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                      22               4.     Additional Information; Copies of the Plan. A copy of the Plan may be obtained
                               free of charge on the case website at www.donlinrecano.com/nms and is on file with the Court.
                      23
                               Any person wishing to obtain information regarding the Plan or a copy of the Plan may also contact
                      24       counsel for the Debtors, William M. Noall, Esq., at (725) 777-3000 or via email at
                               wnoall@gtg.legal, or Will Geer, Esq., at (678) 587-8740 or via email at wgeer@wiggamgeer.com.
                      25
                                           Dated June 19, 2020.
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 Las Vegas, Nevada 89119
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                                                                                  Attorneys for Debtors Edward Steven
                      11
                                                                                  Burdekin and National Store Retail Services
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